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 PAUL, WEISS, RIFKIND, WHARTON &
 GARRISON LLP
 1285 Avenue of the Americas
 New York, New York 10019
 Tel: 212-373-3000
 Fax: 212-757-3990
 Paul M. Basta
 Kelley A. Cornish
 Lewis R. Clayton

 Counsel for the Debtors, Acting at the
 Direction of the Restructuring Sub-Committee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :      Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.,                              :      Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :      (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x
                SUMMARY SHEET TO THE FIRST INTERIM FEE
      APPLICATION OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,
     ATTORNEYS FOR THE DEBTORS FOR THE PERIOD FROM OCTOBER 15, 2018
                THROUGH AND INCLUDING FEBRUARY 28, 2019

 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
     (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
     (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
     Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
     Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
     Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
     (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
     Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
     LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
     Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
     (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
     (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
     Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
     SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
     BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
     (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
     Corporation (5365), and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters
     is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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   General Information

   Name of Applicant:                        Paul, Weiss, Rifkind, Wharton & Garrison LLP

   Authorized to Provide Professional        Debtors and Debtors in Possession
   Services to:

   Date of Retention:                        November 16, 2018, nunc pro tunc to
                                             October 15, 2018

   Prior Applications:                       None

   Period for which compensation and         October 15, 2018 through February 28, 2019 (the
   reimbursement is sought:                  “Fee Period”)



   Summary of Fees and Expenses Sought for the Fee Period

   Amount of Fees Sought as Actual,                   $14,377,232.25
   Reasonable, and Necessary for the Fee
   Period:

   Amount of Expense Reimbursement Sought             $288,917.88
   as Actual, Reasonable, and Necessary for the
   Fee Period:

   Total Fees and Expense                             $14,666,150.13
   Reimbursement Requested for the Fee
   Period:


   Total Fees and Expenses Allowed Pursuant to Prior Applications

   Total Allowed Fees Paid to Date:                   N/A


   Total Allowed Expenses Paid to Date:               N/A


   Total Allowed Fees and Expenses Paid to            N/A
   Date:




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     Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements

     Fees Sought for this Fee Period Already Paid                $9,870,389.202
     Pursuant to Monthly Fee Statements but Not
     Yet Allowed (80% of fees):

     Expenses Sought for this Fee Period Already                 $168,054.823
     Paid Pursuant to Monthly Fee Statements but
     Not Yet Allowed (100% of expenses):

     Total Fees and Expenses Sought for this Fee                 $10,038,444.024
     Period Already Paid Pursuant to Monthly Fee
     Statements but Not Yet Allowed:

     Total Fees and Expenses Sought for this Fee                 $4,627,706.115
     Period Not Yet Paid:

     Summary of Rates and Other Related Information for this Fee Period


     Blended Rate in this Application for All                    $1,020.28
     Attorneys:




 2
   The objection period for the Fifth Monthly Fee Statement expired on April 13, 2019. As such, Paul Weiss
 anticipates receiving $1,650,681.20, which represents 80% of fees incurred during the period of February 1, 2019
 through February 28, 2019 (“Fifth Monthly Fee Period”), before the Court enters an order on this First Interim Fee
 Application. Upon receipt, fees sought for this Fee Period already paid pursuant to monthly fee statements but not
 yet allowed will equal $11,521,070.40. Paul, Weiss reserves all rights with respect to the foregoing.

 3
   The objection period for the Fifth Monthly Fee Statement expired on April 13, 2019. As such, Paul Weiss
 anticipates receiving $120,863.06, which represents 100% of expenses incurred during the Fifth Monthly Fee
 Period, before the Court enters an order on this First Interim Fee Application. Upon receipt, expenses sought for this
 Fee Period already paid pursuant to monthly fee statements but not yet allowed will equal $288,917.88. Paul, Weiss
 reserves all rights with respect to the foregoing.

 4
   The objection period for the Fifth Monthly Fee Statement expired on April 13, 2019. As such, Paul Weiss
 anticipates receiving $1,771,544.26, in the aggregate, which represents 80% of fees and 100% of expenses incurred
 during the Fifth Monthly Fee Period, before the Court enters an order on this First Interim Fee Application. Upon
 receipt, the total fees and expenses sought for this Fee Period already paid pursuant to monthly fee statements but
 not yet allowed will be $11,809,988.28. Paul, Weiss reserves all rights with respect to the foregoing.
 5
  This amount represents $2,856,161.85, representing holdback fees equal to 20% of fees incurred during the Fee
 Period, plus $1,771,544.26, representing 80% of fees and 100% of expenses incurred during the Fifth Monthly Fee
 Period. As noted supra note 4, Paul, Weiss anticipates receiving $1,771,544.26, in the aggregate, before the Court
 enters an order on this First Interim Fee Application. Upon receipt, the total fees and expenses sought for this Fee
 Period not yet paid will equal $2,856,161.85. Paul, Weiss reserves all rights with respect to the foregoing.



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   Blended Rate in this Application for All          $736.09
   Timekeepers:

   Number of Timekeepers Included in this            71
   Application:

   Number of Attorneys in this Application Not       0
   Included in Staffing Plan Discussed with
   Client:

   Difference Between Fees Budgeted and              Fees are within the budgeted range.
   Compensation Sought for this Period:

   Number of Attorneys Billing Fewer than 15         6
   Hours to the Case During the Fee Period

   Increase in Rates Since Date of Retention:        None



   This is an:     monthly     X interim         final application




                                                 4
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                                                       Summary of Prior Monthly Fee Statements

Date Filed &             Period           Total Compensation and                Total Amount Previously             Total Amount Paid to Date                 Holdback
 ECF No.                Covered            Expenses Incurred for                 Requested with Prior                                                           Fees
                                              Period Covered                     Monthly Fee Statement                                                        Requested
                                                                                                                                                               (20%)

                                             Fees             Expenses              Fees            Expenses              Fees            Expenses
                                                                                   (80%)             (100%)              (80%)             (100%)
    11/29/2018        10/15/2018-
                                        $1,282,895.00         $14,143.57       $1,026,316.00        $14,143.57       $1,026,316.00        $14,143.57          $253,225.001
    ECF No. 936       10/31/2018
    12/20/2018        11/01/2018-
                                        $ 2,837,936.50        $35,486.63       $2,270,349.20        $35,486.63       $2,270,349.20        $35,486.63          $564,528.802
ECF No. 1376          11/30/2018
      1/30/19         12/01/2018-
                                        $3,780,169.50         $91,688.25       $3,024,135.60        $91,688.25       $3,024,135.60        $91,688.25          $739,588.653
ECF No. 2204          12/31/2018
      2/27/19         01/01/2019-
ECF No. 2707          01/31/2019        $4,436,985.50         $26,736.37       $3,549,588.40        $26,736.37       $3,549,588.40        $26,736.37          $886,149.104
      3/29/19         02/01/2019-
                                        $2,063,351.50        $120,863.06       $1,650,681.20       $120,863.06             $05                $06             $412,670.30
ECF No. 2991          02/28/2019




1
    This amount reflects a deduction of $3,354.00 in fees for an overcharge in non-working travel time in the First Monthly Fee Statement [Docket No. 936].
2
    This amount reflects a deduction of $3,058.50 in fees for an overcharge in non-working travel time in the Second Monthly Fee Statement [Docket No. 1376].
3
    This amount reflects a deduction of $16,445.25 in fees for an overcharge in non-working travel time in the Third Monthly Fee Statement [Docket No. 2204].
4
    This amount reflects a deduction of $1,248.00 in fees for an overcharge in non-working travel time in the Fourth Monthly Fee Statement [Docket No. 2707].
5
  The objection period for the Fifth Monthly Fee Statement expired on April 13, 2019. Accordingly, Paul, Weiss anticipates receiving $1,650,681.20, which
represents 80% of the fees incurred during the Fifth Monthly Fee Period, before the Court enters an order on this First Interim Fee Application.
6
  The objection period for the Fifth Monthly Fee Statement expired on April 13, 2019. Accordingly, Paul, Weiss anticipates receiving $120,863.06, which
represents 100% of the expenses incurred during the Fifth Monthly Fee Period, before the Court enters an order on this First Interim Fee Application.
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  Total for
First Interim      10/15/2018-
                               $14,377,232.257             $288,917.88       $11,521,070.40      $288,917.88       $9,870,389.20       $168,054.82      $2,856,161.85
     Fee            2/28/2019
Application


Summary of Objections to Monthly Fee Statements: None

Compensation Sought in this Application Not Yet Paid: $4,627,706.118




7
  The monthly fees incurred by Paul, Weiss from October 15, 2018 through February 28, 2019 totaled $14,401,338.00. As noted supra notes 1–4, this First
Interim Fee Application deducts $24,105.75 in the aggregate from such monthly fees to account for inadvertent overcharges relating to non-working travel time
billed on Paul, Weiss’s previously filed fee statements for the time periods from October 15, 2018 through January 31, 2019. As such, the amount of monthly
fees reported in this First Interim Fee Application equals $14,401,338.00 less $24,105.75, or $14,377,232.25.
8
 This amount represents $2,856,161.85, representing holdback fees equal to 20% of fees incurred during the Fee Period, plus $1,771,544.26, representing 80%
of fees and 100% of expenses incurred during the Fifth Monthly Fee Period. Paul, Weiss anticipates receiving $1,771,544.26, in the aggregate, before the Court
enters an order on this First Interim Fee Application. Upon receipt, the compensation sought for this Fee Period not yet paid will equal $2,856,161.85. Paul,
Weiss reserves all rights with respect to the foregoing



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                                   Compensation By Professional
                             October 15, 2018 through February 28, 2019

Name of Professional      Title       Department     Year            Hourly       Total        Total
                                                    Admitted       Billing Rate   Billed    Compensation
                                                                         ($)      Hours         ($)
Kelley Cornish          Partner       Bankruptcy       1984             1,560         531.6     816,114.00
Meredith Kane           Partner       Real Estate      1983             1,560           2.6       4,056.00
Paul Basta              Partner       Bankruptcy       1993             1,560         625.2     975,312.00
Lewis Clayton           Partner       Litigation       1979             1,560         352.0     544,206.00
Susanna Buergel         Partner       Litigation       2002             1,485         522.2     775,467.00
Manuel Frey             Partner       Corporate        2000             1,455           8.2      11,931.00
Robert Britton          Partner       Bankruptcy       2008             1,165         623.5     709,506.00
Jonathan Hurwitz        Counsel       Litigation       1987             1,160         709.8     823,368.00
Stephen Koo             Counsel       Corporate        1988             1,160          30.5      35,380.00
Karen King              Counsel       Litigation       2001             1,160         255.4     296,264.00
Karla Booth             Counsel       Real Estate      2006             1,125          19.5      21,937.50
Daniel Mason            Counsel       Litigation       2008             1,125           5.2       5,850.00
Adam Denhoff            Associate     Bankruptcy       2011             1,065           1.0       1,065.00
Shane Avidan            Associate     Litigation       2013             1,005         483.0     485,415.00
Anna-Lisa Vanzo         Associate     Litigation       2016              920            3.8       3,496.00
Emma C. Carlson         Associate     Bankruptcy       2017              835           39.3      32,815.50
Michael Colarossi       Associate     Bankruptcy       2017              835           17.5      14,612.50
Julia Maddera           Associate     Litigation       2018              835           27.3      22,795.50
Felicia Siegel          Associate     Real Estate      2016              835           33.7      28,139.50
Wendy Wang              Associate     Real Estate      2018              835            0.3         250.50
Jonathan Silberstein-   Associate     Litigation       2015              940          521.7     490,398.00
Loeb
Shaina Reiko            Associate     Litigation       2012           1,030          295.5      304,365.00
Rogozen
Paul Gross              Associate     Litigation       2018           1,030           80.4       59,094.00
Emily Hoyle             Associate     Litigation       2018            735           721.2      527,031.75
Nicolas Kabat           Associate     Litigation       2018            735            40.7       29,914.50
Jake Struebing          Associate     Litigation       2018            735           656.0      482,160.00
David Giller            Associate     Litigation       2015            940           799.5      747,300.00
Rachel Corrigan         Associate     Litigation       2019            640           790.4      505,856.00
Akila Sarathy           Associate     Litigation    Not admitted       640           650.3      416,192.00
Caitlin Toto            Associate     Bankruptcy       2019            640           218.2      137,728.00
Teresa Lii              Associate     Bankruptcy       2014            920           560.3      512,946.00
Attorney Total:                                                                     9625.8    9,820,966.00
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 Name of Staff Attorneys, Paralegals, and Other        Hourly Billing   Total Billed      Total
                Non-Legal Staff                          Rate ($)         Hours        Compensation
                                                                                           ($)
Joanie Hecht                                                 480              259.5         124,560.00
Madhuri Pavamani                                             490              366.1         179,389.00
Peter Yoerg                                                  480              406.4         195,072.00
Francine Murray                                              490              469.5         230,055.00
Joseph Samuel                                                480              345.5         165,840.00
Nilda Rivera                                                 480              302.3         145,104.00
Binsy Cyriac                                                 480              467.2         224,256.00
Ydalim Ramon                                                 480               97.8          46,944.00
Destiny Harmon                                               480              360.9         173,232.00
Lisa Johnson                                                 480              438.7         210,576.00
Alexandra Stancu                                             480              313.6         150,528.00
William Wolfsheimer                                          480              326.0         156,480.00
Mark Shapiro                                                 480              442.1         212,208.00
Richard Dieguez                                              480              157.4          75,552.00
James Crutchfield                                            480              360.6         173,088.00
Scott Golodner                                               480              550.1         264,048.00
Chaim Rybak                                                  480              374.8         179,904.00
Robin Cohen                                                  480               64.2          30,816.00
Akiva Reich                                                  480              507.2         243,456.00
John Rowland                                                 480              511.9         245,712.00
Patricia Perez                                               480               74.8          35,904.00
Sergio Herrera                                               480              434.0         208,320.00
Ye Qing                                                      480              314.1         150,768.00
Arianny Mejia                                                480              510.5         245,040.00
Qing Di                                                      640               21.0          13,440.00
Joseph Monzione                                              365               53.9          19,673.50
Brooke Filler                                                365               16.8           6,132.00
Zakiya Williams Wells                                        315               28.0           8,820.00
Anna Margolis                                                315               14.3           4,504.50
Rubin Danberg Biggs                                          315              238.8          75,222.00
Sarah Griffin                                                315              272.3          85,774.50
Olivia Irby                                                  315              114.4          36,036.00
Robert Graham                                                315               10.1           3,181.50
Frank Eng                                                    365              185.2          67,598.00
Elisabeth Stuveras                                           345              102.8          35,466.00
Frank Oliveras                                               345               18.8           6,486.00
Justin Turnofsky                                             345               58.6          20,217.00
Alan Wilbur                                                  345              205.4          70,863.00
Christopher Ho                                               345               82.2          28,359.00
Ai Na Liu                                                    270               28.3           7,641.00
      Total Staff Attorneys, Paralegals and Other Non-Legal Staff:           9906.1       4,556,266.00




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       PROFESSIONALS                    BLENDED         TOTAL BILLED           TOTAL
                                        RATE ($)           HOURS           COMPENSATION ($)
 Partners and Counsel                    1,361.86                3,685.7            5,019,391.50
 Associates                               808.33                 5,940.1            4,801,574.75
 Staff Attorneys/Paralegals/Non-
                                          459.95                 9,906.1            4,556,266.00
 Legal Staff
 Blended Attorney Rate                   1,020.28

 Blended Rate All Timekeepers             736.09
                Total Fees Incurred                            19,531.90          $14,377,232.25




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                                 Compensation by Project Category
                             October 15, 2018 through February 28, 2019

                            Project Category                    Total Hours        Total Fees ($)

 Case Administration (701)                                                164.1           99,557.00
 Conflict Matters: General (702)                                          415.6          347,561.50
 Conflict Matters: Investigations & Discovery (703)                  15,368.2         10,061,264.50
 Conflict Matters: Strategic Advice (704)                                  69.8           56,810.50
 Fee/Employment Applications (Paul, Weiss) (705)                          264.3          208,879.50
 Fee/Employment Applications (Other) (706)                                175.5          182,859.50
 Fee/Employment Objections (707)                                              0                     $0
 Cash Collateral/DIP Issues (708)                                          29.9           36,545.50
 Plan and Disclosure Statement (709)                                       53.3           61,589.00
 Litigation (710)                                                         922.2          897,945.50
 Valuation (711)                                                              0                     $0
 Travel Time (712)                                                         58.2           33,313.75
 Court Hearings (713)                                                     270.3          349,876.50
 Sale Transactions (714)                                              1,727.8          2,027,029.00
 Creditor Inquiries (715)                                                   1.3            1,462.50
 Corporate Governance (716)                                                11.4           12,538.00
 TOTAL                                                               19,531.9        $14,377,232.25




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                                      Expense Summary
                          October 15, 2018 through February 28, 2019

                              Expenses Category                         Total Expenses ($)
 Court Costs & Lit Expenses                                                        46,336.67
 Client Organizational Expenses                                                     4,412.50
 Information Retrieval Services                                                    68,042.85
 Out-of-Town Travel                                                                23,156.03
 Miscellaneous                                                                       534.41
 Word Processing                                                                    6,663.75
 Overtime Expenses                                                                 19,235.21
 Duplicating Expenses                                                              83,357.49
 Communications                                                                      429.41
 Mail and Messengers                                                                4,499.32
 Local Transportation Expenses                                                     14,988.47
 Business Expenses                                                                 17,261.77
 TOTAL                                                                            288,917.88
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 PAUL, WEISS, RIFKIND, WHARTON &
 GARRISON LLP
 1285 Avenue of the Americas
 New York, New York 10019
 Tel: 212-373-3000
 Fax: 212-757-3990
 Paul M. Basta
 Kelley A. Cornish
 Lewis R. Clayton

 Counsel for the Debtors, Acting at the
 Direction of the Restructuring Sub-Committee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :      Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.,                              :      Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :      (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x
                   FIRST INTERIM FEE APPLICATION OF
            PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,
     ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
                PERIOD FROM OCTOBER 15, 2018 THROUGH

 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
     (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
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     Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
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     Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
     LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
     Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
     (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
     (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
     Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
     SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
     BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
     (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
     Corporation (5365), and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters
     is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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                            AND INCLUDING FEBRUARY 28, 2019

 TO THE HONORABLE ROBERT DRAIN,
 UNITED STATES BANKRUPTCY JUDGE:

        Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”), attorneys for the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), acting at the direction

 of the Restructuring Sub-Committee, hereby submits its first interim fee application (the “Fee

 Application”), pursuant to sections 330 and 331 of title 11 of the United States Code, 11 U.S.C.

 §§ 101–1532 (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Rule 2016-1 of the Local Rules for the Southern District of New

 York (the “Local Rules”), for allowance of compensation for professional services provided in

 the amount of $14,377,232.25 and reimbursement of actual and necessary expenses in the

 amount of $288,917.88 that Paul, Weiss incurred for the period from October 15, 2018 through

 February 28, 2019 (the “Fee Period”). In support of this Fee Application, Paul, Weiss submits

 the declaration of Paul M. Basta, a partner of Paul, Weiss regarding Paul, Weiss’s compliance

 with the Fee Guidelines (defined below) (the “Basta Declaration”), which is attached hereto as

 Exhibit A. In further support of this Fee Application, Paul, Weiss respectfully states as follows:

                                      Preliminary Statement

        1.      During the Fee Period, and since the commencement of these chapter 11 cases

 (the “Chapter 11 Cases”), Paul, Weiss professionals were retained to render professional services

 (i) acting at the direction of the restructuring sub-committee (the “Restructuring Sub-

 Committee”) of the restructuring committee (the “Restructuring Committee”) of the Company’s

 board of directors (the “Board”) with respect to certain matters controlled by the Restructuring

 Sub-Committee (the “RSC Conflict Matters”), including the Debtors’ investigation into

 prepetition related party transactions, and (ii) acting at the direction of the Restructuring

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 Committee or the Restructuring Sub-Committee, as the case may be, in connection with all

 matters in which Weil, Gotshal, & Manges LLP (“Weil”) could not represent the Debtors due to

 an actual or perceived conflict of interest (the “Other Conflict Matters” and, together with the

 RSC Conflict Matters, the “Conflict Matters”). This representation has enabled the Debtors to

 make significant progress in their restructuring efforts. With the advice and assistance of Paul,

 Weiss, the Restructuring Sub-Committee has investigated, and continues to investigate, the legal

 and factual bases of prepetition related party transactions, analyzing hundreds of thousands of

 documents and conducting eleven on-the-record witness interviews. Further, with the assistance

 of Paul, Weiss, the Debtors successfully negotiated the sale of substantially all of the Debtors’

 assets to Transform Holdco LLC in exchange for a credit bid of prepetition debt owed by related

 party ESL Investments, Inc., $35 million in cash, and the allowance or payment of certain third

 party claims against the Debtors. Moreover, with the assistance of Paul, Weiss, the Restructuring

 Sub-Committee has identified substantial claims against ESL Investments, Inc. and others, and

 Paul, Weiss has prepared a complaint in relation to those claims. Paul, Weiss respectfully

 submits that the compensation and expense reimbursement sought herein for the necessary and

 beneficial professional services Paul, Weiss provided to the Debtors during the Fee Period is

 reasonable and appropriate, commensurate with the scale, nature, and complexity of these

 Chapter 11 Cases, and should be allowed.

        2.      On November 16, 2018 this Court entered the Order Authorizing Procedures for

 Interim Compensation and Reimbursement of Expenses of Professionals [ECF No. 796] (the

 “Interim Compensation Order”). The Interim Compensation Order provides that when seeking

 compensation for services rendered, professionals must submit monthly fee statements to certain

 notice parties. Each person receiving a statement has fifteen (15) days after its receipt to review



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 and object to such monthly fee statements. If no objection is made, the Debtors are authorized to

 pay 80% of the fees requested (with the remaining 20% of the fees requested referred to herein

 as the “Holdback”) and 100% of the charges and disbursements requested. Paul, Weiss has

 submitted monthly fee statements for each of the months covered by the Fee Period. The

 aggregate Holdback amount for the Fee Period is $2,856,161.85 (the “First Interim Period

 Holdback”). Paul, Weiss is currently seeking allowance and payment of the First Interim Period

 Holdback.

        3.     This Fee Application has been prepared in accordance with the Bankruptcy Code,

 the Bankruptcy Rules, the Local Rules, the Interim Compensation Order, the Amended

 Guidelines for Fees and Disbursements for Professionals in Southern District of New York

 Bankruptcy Cases pursuant to General Order M-447 (Jan. 29, 2013) (the “Local Guidelines”),

 and the U.S. Trustee Guidelines for Reviewing Applications for Compensation and

 Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

 Cases, effective November 1, 2013 (the “UST Guidelines,” and, together with the Local

 Guidelines, the “Fee Guidelines”).

        4.     The Debtors have been given the opportunity to review this Fee Application and

 have approved the compensation and reimbursement of expenses requested herein.

                                Jurisdiction and Basis for Relief

        5.     The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

 Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Background

 A.     The Chapter 11 Filings and General Case Background



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            6.       On October 15, 2018 (the “Petition Date”), and continuing thereafter, each of the

 Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The

 Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes only pursuant

 to Rule 1015(b) of the Bankruptcy Rules. The Debtors continue to manage and operate their

 businesses as debtors in possession under sections 1107 and 1108 of the Bankruptcy Code. On

 October 24, 2018, the United States Trustee for Region 2 appointed an official committee of

 unsecured creditors (the “Creditors’ Committee”). No trustee or examiner has been appointed in

 these Chapter 11 Cases.

            7.       Information regarding the Debtors’ businesses, capital structure, and the

 circumstances leading to the commencement of these Chapter 11 Cases is set forth in the

 Declaration of Robert A. Riecker Pursuant to Rule 1007-2 of the Local Rules for Southern

 District of New York, sworn to on the Petition Date [Docket No. 3] (the “Riecker Declaration”)2.

            8.       The Debtors have advised Paul, Weiss that, to date, all quarterly fees due to the

 United States Trustee for the Southern District of New York (the “U.S. Trustee”) have been paid.

 B.         The Debtors’ Retention of Paul, Weiss

            9.       On November 1, 2018 the Debtors filed an application to employ Paul, Weiss as

 their attorneys acting at the direction of the Restructuring Sub-Committee [Docket No. 417] (the

 “Retention Application”). On November 16, 2018, the Court entered an order approving the

 Retention Application [Docket No. 774] (the “Retention Order”).

            10.      The Retention Order authorized the Debtors to compensate and reimburse Paul,

 Weiss, nunc pro tunc to the Petition Date, as their attorneys acting at the direction of the




 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Riecker
       Declaration.

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 Restructuring Sub-Committee in these Chapter 11 Cases.                The Retention Order further

 authorized Paul, Weiss to provide services as described in the Retention Application, including:

              (a)      investigating and advising the Restructuring Sub-Committee regarding
                       whether a matter constitutes a RSC Conflict Matter;

              (b)      conducting investigations and analyses sufficient to advise the Restructuring
                       Sub-Committee regarding RSC Conflict Matters;

              (c)      implementing the directions of the Restructuring Sub-Committee related to
                       RSC Conflict Matters;

              (d)      implementing the directions of the Restructuring Committee or the
                       Restructuring Sub-Committee, as the case may be, with respect to Other
                       Conflict Matters; and

              (e)      rendering services for the Restructuring Sub-Committee and Restructuring
                       Committee including, but not limited to, fact investigation, legal research,
                       briefing, argument, discovery, negotiation, litigation, participation in meetings
                       of the Board and applicable committees thereof, appearance and participation
                       in hearings, and communications and meetings with parties in interest, in each
                       case as it relates to RSC Conflict Matters or Other Conflict Matters.

 C.     Disinterestedness of Paul, Weiss

        11.         To the best of the Debtors’ knowledge and as disclosed in the Declaration of Paul

 M. Basta in Support of the Debtors’ Application for an Order Authorizing the Retention and

 Employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors

 Nunc Pro Tunc to the Petition Date, attached as Exhibit B to the Retention Application (the

 “Initial Declaration”), as well as the First Supplemental Declaration of Paul M. Basta in Support

 of the Debtors’ Application for an Order Authorizing the Retention and Employment of Paul,

 Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors Nunc Pro Tunc to the

 Petition Date [Docket No. 516] (the “First Supplemental Declaration”), the Second Supplemental

 Declaration of Paul M. Basta in Support of Debtors’ Application for an Order Authorizing the

 Retention and Employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for



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 the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 1400] (the “Second Supplemental

 Declaration”), and the Third Supplemental Declaration of Paul M. Basta in Support of Debtors’

 Application for an Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind,

 Wharton & Garrison LLP as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date

 [Docket No. 2738] (collectively the “Basta Declarations”) (a) Paul, Weiss is a “disinterested

 person” within the meaning of section 101(14) of the Bankruptcy Code, as required by section

 327(a) of the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’

 estates, and (b) Paul, Weiss has no connection to the Debtors, their creditors, or other parties in

 interest, except as may have been disclosed in the Basta Declarations.

        12.     Paul, Weiss may have in the past represented, may currently represent, and may in

 the future represent parties in interest in connection with matters unrelated to the Debtors in

 these Chapter 11 Cases. In the Basta Declarations, Paul, Weiss disclosed its connections to

 parties in interest that it has been able to ascertain using its reasonable efforts. In light of the

 extensive number of the Debtors’ creditors and other parties in interest, Paul, Weiss is unable to

 conclusively identify all potential relationships. To the extent that Paul, Weiss becomes aware of

 any additional relationships that may be relevant to Paul, Weiss’s representation of the Debtors,

 Paul, Weiss will promptly file a supplemental declaration.

        13.     Paul, Weiss performed the services for which it is seeking compensation at the

 direction of the Restructuring Sub-Committee and on behalf of the Debtors and their estates, and

 not on behalf of any other committee, creditor, or other entity.

        14.     As previously disclosed in the Initial Declaration, Paul, Weiss received an

 advanced payment retainer in connection with its engagement in the amount of $250,000, which

 it applied against its prepetition invoices. Paul, Weiss has received no payment and no promises



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 for payment from any source other than the Debtors for services provided or to be provided in

 any capacity whatsoever in connection with these Chapter 11 Cases.

        15.     Pursuant to Bankruptcy Rule 2016(b), Paul, Weiss has not shared, nor has Paul,

 Weiss agreed to share, (a) any compensation it has received or may receive with another party or

 person other than with the partners, counsel, and associates of Paul, Weiss, or (b) any

 compensation another person or party has received or may receive.

                            Summary of Professional Compensation
                           and Reimbursement of Expenses Requested

        16.     Paul, Weiss seeks allowance of interim compensation for professional services

 performed during the Fee Period in the amount of $14,377,232.25 and for reimbursement of

 expenses incurred in connection with the rendition of such services in the amount of

 $288,917.88. During the Fee Period, Paul, Weiss attorneys and paraprofessionals expended a

 total of 19,531.9 hours in connection with the necessary services performed.

        17.     The hourly rates set forth in the Initial Declaration are Paul, Weiss’s standard

 hourly rates. These rates are set at a level designed to fairly compensate Paul, Weiss for the

 work of its attorneys and paralegals and to cover fixed and routine overhead expenses and are

 revised on an annual basis. The hourly rates and corresponding rate structure utilized by Paul,

 Weiss in these Chapter 11 Cases are equivalent to the hourly rates and corresponding rate

 structure used by Paul, Weiss for other bankruptcy matters, as well as non-bankruptcy matters.

 The rates and rate structure reflect that such restructuring and other complex matters typically are

 national in scope and typically involve great complexity, high stakes, and severe time pressures.

        18.     Attached hereto as Exhibit B is a schedule of Paul, Weiss attorneys and

 paraprofessionals who have performed services for the Debtors during the Fee Period, the

 capacities in which each individual is employed by Paul, Weiss, the department in which the

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 individual practices, the hourly billing rate charged by Paul, Weiss for services performed by

 such individuals, the year in which each attorney was first licensed to practice law, where

 applicable, and the aggregate number of hours expended in this matter and fees billed in

 connection therewith.

        19.     Attached hereto as Exhibit C is a summary of Paul, Weiss’s time records billed

 using task codes described below. To provide a meaningful summary of Paul, Weiss’s services

 provided on behalf of the Debtors and their estates, Paul, Weiss has established, in accordance

 with its internal billing procedures, certain task code categories (each, a “Task Code Category”)

 in connection with these Chapter 11 Cases. Paul, Weiss maintains computerized records of time

 spent by all Paul, Weiss attorneys and paraprofessionals in connection with these Chapter 11

 Cases. Copies of these computerized records have been furnished to the Debtors, the Court, and

 the U.S. Trustee in the format specified by the Fee Guidelines for each month of the case through

 February 2019, each with a statement of the fees and disbursements accrued during the

 corresponding month.

        20.     Attached hereto as Exhibit D is a schedule specifying the categories of expenses

 for which Paul, Weiss is seeking reimbursement and the total amount for each such expense

 category. Itemized computer records of all such expenses have been provided to the Debtors and

 filed in conjunction with each monthly fee statement.

        21.     Attached hereto as Exhibit E is a summary and comparison of the aggregate

 blended hourly rates billed by Paul, Weiss New York timekeepers to non-bankruptcy matters

 during the proceeding rolling twelve-month period year ending February 28, 2019 and the

 blended hourly rates billed to the Debtors during the Fee Period.




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        22.     Attached hereto as Exhibit F is a budget and staffing plan prepared in connection

 with Paul, Weiss’s representation of the Debtors in these Chapter 11 Cases.

        23.     To the extent that time or disbursement charges for services rendered or

 disbursements incurred relate to the Fee Period, but were not processed prior to the preparation

 of this Fee Application, Paul, Weiss reserves the right to request additional compensation for

 such services and reimbursement of such expenses by future application to the Court.

                 Summary of Legal Services Rendered During the Fee Period

        24.     As discussed above, during the Fee Period, Paul, Weiss provided extensive and

 significant professional services to the Debtors acting at the direction of the Restructuring Sub-

 Committee in connection with these Chapter 11 Cases. These services were often performed

 under severe time constraints and were necessary to address a multitude of critical issues both

 unique to these Chapter 11 Cases and typically faced by large corporate debtors in similar cases

 of this magnitude and complexity.

        25.     Below is a more detailed summary of the most significant professional services

 performed by Paul, Weiss in each Task Code Category, organized in accordance with Paul,

 Weiss’s internal system of matter numbers for these Chapter 11 Cases. The detailed descriptions

 demonstrate that Paul, Weiss was heavily involved in performing services for the Debtors on a

 daily basis, often including night and weekend work, to meet the needs of the Debtors’ estates in

 these Chapter 11 Cases.

 A.     Case Administration [Matter 701]
        Total Fees: $99,557.00
        Total Hours: 164.1

        26.     This task code includes time spent by Paul, Weiss attorneys on various

 administrative tasks, including maintenance of case calendars, working group lists, task lists, and



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 timelines created for use by Paul, Weiss attorneys and the Debtors, as well as creation and

 distribution of documents to the Paul, Weiss team, the Debtors, the U.S. Trustee and the Court.

 This task code includes time spent by Paul, Weiss attorneys preparing for and participating in

 calls and meetings with the Paul, Weiss team and/or with the Debtors and their other

 professionals, including to discuss case status or other open items.


 B.     Conflict Matters: General [Matter 702]
        Total Fees: $347,561.50
        Total Hours: 415.6

        27.     This task code includes time spent by Paul, Weiss attorneys on tasks in

 connection with general conflict matters. This task code primarily encompasses time spent

 researching, drafting and editing internal memoranda analyzing general case issues, such as

 general procedural issues and general bankruptcy law issues.

 C.     Conflict Matters: Investigations & Discovery [Matter 703]
        Total Fees: $10,061,264.50
        Total Hours: 15,368.20

        27.     This task code includes time spent by Paul, Weiss attorneys on a multitude of

 tasks relating to all aspects of the investigation of prepetition related party transactions. In

 particular, this task code includes (a) all aspects of document review, including coordinating

 document production with various parties and reviewing hundreds of thousands of documents for

 privilege and responsiveness, (b) analyzing the legal and factual bases of potential claims in

 connection with prepetition related party transactions, (c) researching, drafting, and revising

 outlines in preparation for the eleven on-the-record witness interviews undertaken as part of the

 investigation of prepetition related party transactions, (d) preparing for and conducting the

 aforementioned interviews, (e) preparing witnesses for depositions in connection with the RSC

 Conflict Matters, and (f) attending in-person and telephonic conferences with various parties,

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 such as the Restructuring Sub-Committee, the Restructuring Committee, the Debtors’ other

 professionals, and the Creditors’ Committee, on matters relating to the investigation.

 D.         Conflict Matters: Strategic Advice [Matter 704]
            Total Fees: $56,810.50
            Total Hours: 69.8

            28.   This task code includes time spent by Paul, Weiss attorneys (a) conducting

 internal Paul, Weiss team meetings to discuss case strategy, (b) participating in calls with the

 Debtors’ other professionals to discuss the same, and (c) reviewing and responding to general

 case correspondence between the Paul, Weiss attorneys and the Debtors regarding case updates

 and strategy.

 E.         Fee/Employment Applications (Paul, Weiss) [Matter 705]
            Total Fees: $208,879.50
            Total Hours: 264.3

      29.         This task code includes time spent preparing and filing the monthly fee

 statements, including confirming attorneys’ and paralegals’ recorded time in the appropriate

 Task Code Category, reviewing time detail to ensure compliance with the Fee Guidelines,

 reviewing time detail for privileged information, drafting the fee statements, and creating tables

 and summarizing time detail to adequately disclose compensation and expense reimbursements

 sought in each monthly fee statement. This task code also includes time spent preparing and

 drafting the Paul, Weiss retention application and the Basta Declarations.

 F.         Fee/Employment Applications (Other) [Matter 706]
            Total Fees: $182,859.50
            Total Hours: 175.5

            30.   This task code includes time spent preparing, reviewing, and filing the monthly

 fee statements of the Debtors’ other professionals acting at the direction of the Restructuring

 Sub-Committee, including Alvarez & Marsal North America, LLC (“A&M”), Evercore Group,



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 LLC (“Evercore”), and Stout, Risius & Ross, LLC (“Stout”). In particular, this task code

 includes reviewing time detail to ensure compliance with the Fee Guidelines, and creating tables

 and summarizing time detail to adequately disclose compensation and expense reimbursements

 sought in each monthly fee statement. This task code also includes time spent preparing and

 drafting the retention applications and engagement letters of A&M, Evercore, and Stout, and

 responding to the Objection of the Official Committee of Unsecured Creditors of Sears Holdings

 Corporation, et al. to Debtors’ Application to Retain and Employ Evercore Group L.L.C. as

 Investment Banker [Docket No. 629].

 G.     Cash Collateral/DIP Issues [Matter 708]
        Total Fees: $36,545.50
        Total Hours: 29.9

        31.    This task code includes time spent by Paul, Weiss attorneys on tasks relating to

 DIP financing issues. In particular, this task code includes time drafting and revising the DIP

 term sheets and DIP orders, and participating in calls with the Debtors’ other professionals to

 discuss the same.

 H.     Plan and Disclosure Statement [Matter 709]
        Total Fees: $61,589.00
        Total Hours: 53.3

        32.    This task code includes time spent by Paul, Weiss attorneys researching, drafting

 and revising the plan and related documents. This task code also includes time spent by Paul,

 Weiss attorneys assisting the Debtors in developing a plan of reorganization, and in particular,

 plan matters relating to RSC Conflict Matters. For example, this task code includes time spent by

 Paul, Weiss professionals (a) participating in multiple conferences with the Debtors’ other

 professionals, and the Debtors’ key stakeholders regarding the development of the plan, and (b)




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 reviewing and analyzing materials concerning plan-related issues, including a draft plan term

 sheet.

 I.       Litigation [Matter 710]
          Total Fees: $897,945.50
          Total Hours: 922.2

      33. This task code includes time spent by Paul, Weiss attorneys researching and drafting

 various litigation documents, including the time spent preparing to respond to the Motion of the

 Official Committee of Unsecured Creditors of Sears Holdings Corporation, et al. for Entry of an

 Order Granting (I) Leave, Standing, and Authority to Commence and Prosecute Certain Claims

 on Behalf of the Debtors' Estates and (II) Non-Exclusive Settlement Authority in Respect of Such

 Claims [Docket No. 1765] and other related motions. This task code also includes time spent

 drafting, reviewing, and editing a complaint in connection with prepetition related party

 transactions.

 J.       Travel Time [712]
          Total Fees: $33.313.75
          Total Hours: 58.2

          34.    This task code includes non-working travel time spent by Paul, Weiss attorneys

 traveling to and from court hearings, interviews, depositions, and other case matters. The fees for

 this task code are billed at fifty percent.

 K.       Court Hearings [Matter 713]
          Total Fees: $349,876.50
          Total Hours: 270.3

          35.    This task code includes time spent by Paul, Weiss attorneys attending various

 court hearings, including the first and second day hearings, the hearing to approve the sale of

 substantially all of the Debtors’ assets, and various other omnibus hearings in these Chapter 11




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 Cases. All Paul, Weiss attorneys who attended the hearing provided support for, and/or argued

 at, the various court hearings.

 L.     Sale Transactions [Matter 714]
        Total Fees: $2,027,029.00
        Total Hours: 1,727.8

        36.     This task code includes time spent by Paul, Weiss attorneys on various tasks in

 relation to the sale of substantially all of the Debtors’ assets. In particular, this includes (a) the

 research and analysis of credit bidding issues, (b) attending in-person and telephonic conferences

 with various parties, such as the Restructuring Committee, the Restructuring Sub-Committee, the

 Debtors, ESL Investments, Inc., and the Creditors’ Committee, to discuss and negotiate the

 multiple bids submitted by ESL Investments, Inc., or affiliates thereof, to purchase substantially

 all of the Debtors’ assets, (c) preparing for and participating in negotiations in connection with

 the initial release of certain prepetition claims against ESL Investments, Inc. embodied in that

 certain Asset Purchase Agreement, dated January 17, 2019 (as amended on February 11, 2019

 and as amended or modified from time to time), (d) preparing for and attending the auction to

 sell substantially all of the Debtors’ assets, which includes time spent attending in-person and

 telephonic conferences with various parties to discuss pertinent case issues, (e) preparing for the

 hearing to approve the sale of substantially all of the Debtors’ assets, which includes time spent

 researching and reviewing case issues as it pertained to the sale hearing and RSC Conflict

 Matters, (f) researching, drafting, and revising the Restructuring Subcommittee’s Response to the

 Objection of the Official Committee of Unsecured Creditors to the Sale of Substantially All of the

 Debtors’ Assets to ESL Investments [Docket No. 2320], and (g) time spent researching and

 advising the Restructuring Sub-Committee on the implications of the Debtors’ sale of Sears

 Roebuck Acceptance Corporation’s medium term notes [Docket No. 642].



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 M.       Creditor Inquiries [Matter 715]
          Total Fees: 1,462.50
          Total Hours: 1.3

          37.   This task code includes time spent by Paul, Weiss attorneys responding to creditor

 inquiries, as it relates to RSC Conflict Matters, regarding the various notices the Debtors sent to

 their creditors and stakeholders.

 N.       Corporate Governance [Matter 716]
          Total Fees: $12,538.00
          Total Hours: 11.4

          38.   This task code includes time spent by Paul, Weiss attorneys analyzing corporate

 governance issues, such as the scope of the Restructuring Sub-Committee’s duties as they relate

 to the investigation of prepetition related party transactions. This task code also includes time

 spent reviewing and analyzing corporate governance documents.

          39.   The forgoing professional services performed by Paul, Weiss were necessary to

 and appropriate for the administration of the Debtors’ Chapter 11 Cases during the Fee Period

 and were in the best interests of the Debtors and their stakeholders. Compensation of such

 services is commensurate with the complexity, importance, and the nature of the issues and tasks

 that were involved. The professional services were performed skillfully and efficiently.

          40.   Many of the services performed by partners and associates of Paul, Weiss were

 provided by Paul, Weiss’s Litigation Group, and Bankruptcy & Corporate Reorganization

 Group.     Paul, Weiss has a prominent practice in these areas and enjoys a national and

 international reputation for its expertise in investigations, financial reorganizations and

 restructurings of troubled companies. The attorneys at Paul, Weiss have represented either the

 debtors or an official or unofficial creditors’ committee or have acted as special counsel in many

 large chapter 11 cases.



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         41.     In addition, due to the facts and circumstances of these Chapter 11 Cases,

 attorneys from Paul, Weiss’s real estate and corporate groups were also involved with Paul,

 Weiss’s representation of the Debtors. These practice groups also enjoy a national and

 international reputation for their expertise. Overall, Paul, Weiss brings to these Chapter 11

 Cases a particularly high level of skill and knowledge, benefiting the Debtors and all

 stakeholders.

                     Actual and Necessary Expenses Incurred by Paul, Weiss

         42.     As set forth in Exhibit D attached hereto, Paul, Weiss has incurred a total of

 $288,917.88 in expenses on behalf of the Debtors during the Fee Period. These charges are

 intended to reimburse Paul, Weiss’s direct operating costs, which are not incorporated into Paul,

 Weiss’s hourly billing rates. Paul, Weiss charges external copying and computer research at the

 provider’s cost without markup.        Only clients who actually use services of this type are

 separately charged for such services. The effect of including such expenses as part of the hourly

 billing rates would impose that cost upon clients who do not require extensive photocopying and

 other facilities and services.

         43.     The time constraints imposed by the circumstances of these Chapter 11 Cases

 required Paul, Weiss attorneys and other employees to devote substantial time during the

 evenings and on weekends to perform services on behalf of the Debtors. These services were

 essential to meet deadlines relating to various tasks in connection with the RSC Conflict Matters

 and the orderly administration of the Debtors’ estates. Consistent with firm policy, and as further

 disclosed in the Retention Application, Paul, Weiss attorneys and other Paul, Weiss employees

 who worked late in the evenings or on weekends were reimbursed for their reasonable meal and

 transportation costs. All overtime meals were capped at $20.00 per meal per the Fee Guidelines.



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 Paul, Weiss’s regular practice is not to include components for those charges in overhead when

 establishing billing rates, but rather to charge its clients for these and all other out-of-pocket

 disbursements incurred during the regular course of the rendition of legal services.

        44.     In compliance with the Fee Guidelines, Paul, Weiss charged $0.10 per page for

 photocopying. This does not exceed the maximum rate set by the Fee Guidelines.

        45.     In addition, due to the location of the Debtors’ businesses, creditors, and other

 parties in interest in relation to Paul, Weiss’s offices, frequent multi-party telephone conferences

 involving numerous parties were required. The disbursements for such services are not included

 in Paul, Weiss’s overhead for the purpose of setting billing rates, and Paul, Weiss has made

 every effort to minimize its disbursements in these Chapter 11 Cases. The actual expenses

 incurred in providing professional services were necessary, reasonable, and justifiable under the

 circumstances to serve the needs of the Debtors in these Chapter 11 Cases.

        46.     Among other things, Paul, Weiss ensures that all overtime meals, travel meals,

 hotel rates, and airfares are reasonable and appropriate expenses for which to seek

 reimbursement. Specifically, Paul, Weiss regularly reviews its bills to ensure that the Debtors

 are only billed for services that were actual and necessary and, where appropriate, prorates

 expenses. In that regard, Paul, Weiss has voluntarily waived certain fees and reduced its fees

 and expenses following regular internal reviews of its bills. In the Fee Period, Paul, Weiss

 voluntarily reduced its fees by $175,000.50 and its voluntarily reduced its expenses by

 $3,113.82. Consequently, Paul, Weiss does not seek payment of such fees or reimbursement of

 such expenses in this Fee Application.

       Paul, Weiss’s Requested Compensation and Reimbursement Should Be Allowed




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        47.     Section 330 of the Bankruptcy Code provides that a court may award a

 professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

 actual necessary services rendered . . . and reimbursement for actual, necessary expenses.” 11

 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation

 and reimbursement:

        In determining the amount of reasonable compensation to be awarded . . . the
        court shall consider the nature, extent, and the value of such services, taking into
        account all relevant factors, including—

                (a)       the time spent on such services;

                (b)       the rates charged for such services;

                (c)       whether the services were necessary to the administration of, or
                          beneficial at the time at which the service was rendered toward the
                          completion of, a case under this title;

                (d)       whether the services were performed within a reasonable amount
                          of time commensurate with the complexity, importance, and nature
                          of the problem, issue, or task addressed;

                (e)       with respect to a professional person, whether the person is board
                          certified or otherwise has demonstrated skill and experience in the
                          bankruptcy field; and

                (f)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases
                          other than cases under this title.

 11 U.S.C. § 330(a)(3).

        48.     Paul, Weiss respectfully submits that the services for which it seeks compensation

 in this Fee Application were, at the time rendered, necessary for and beneficial to the Debtors

 and their estates and were rendered to protect and preserve the Debtors’ estates. Paul, Weiss

 further believes that it performed the services for the Debtors economically, effectively, and

 efficiently, and the results obtained benefited not only the Debtors, but also the Debtors’ estates



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 and the Debtors’ stakeholders. Paul, Weiss further submits that the compensation requested

 herein is reasonable in light of the nature, extent, and value of such services to the Debtors, their

 estates, and all parties in interest.

         49.     During the Fee Period, Paul, Weiss’s hourly billing rates for attorneys ranged

 from $1,165.00 to $1,560.00 for partners, $1,125.00 to $1,160.00 for counsel, $640.00 to

 $1,065.00 for associates, $270.00 to $490.00 for staff attorneys and paraprofessionals, and

 $640.00 for visiting lawyers. These hourly rates and corresponding rate structure utilized by

 Paul, Weiss in these Chapter 11 Cases are equivalent to the hourly rates and corresponding rate

 structure used by Paul, Weiss for restructuring, bankruptcy, insolvency, and comparable matters,

 and similar complex corporate, securities, and litigation matters, whether in court or otherwise,

 regardless of whether a fee application is required. Paul, Weiss strives to be efficient in the

 staffing of all matters. These rates and the rate structure reflect that such matters are typically

 national in scope and involve great complexity, high stakes, and severe time pressures—all of

 which were present in these Chapter 11 Cases.

         50.     Moreover, Paul, Weiss’s hourly rates are set at a level designed to compensate

 Paul, Weiss fairly for the work of its attorneys and paraprofessionals and to cover certain fixed

 and routine overhead expenses. Hourly rates vary with the experience and seniority of the

 individuals assigned. These hourly rates are subject to periodic adjustments to reflect economic

 and other conditions and are consistent with the rates charged elsewhere.

         51.     In sum, Paul, Weiss respectfully submits that the professional services provided

 by Paul, Weiss on behalf of the Debtors and their estates during these Chapter 11 Cases were

 necessary and appropriate given the complexity of these Chapter 11 Cases, the time expended by

 Paul, Weiss, the nature and extent of Paul, Weiss’s services provided, the value of Paul, Weiss’s



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 services, and the cost of comparable services outside of bankruptcy, all of which are relevant

 factors set forth in section 330 of the Bankruptcy Code. Accordingly, Paul, Weiss respectfully

 submits that approval of the compensation sought herein is warranted and should be approved.

                                      Reservation of Rights

         52.     It is possible that some professional time expended or expenses incurred during

 the Fee Period are not reflected in this Fee Application. Paul, Weiss reserves the right to include

 such amounts in future fee applications.

                                               Notice

         53.     Notice of this Motion shall be given by hand or overnight delivery or email where

 available upon (i) Sears Holdings Corporation, 3333 Beverly Road, Hoffman Estates, Illinois

 60179, Attention: Rob Riecker (email: Rob.Riecker@searshc.com) and Luke Valentino (email:

 Luke.Valentino@searshc.com); (ii) counsel to the Debtors, Weil, Gotshal & Manges LLP, 767

 Fifth Avenue, New York, NY 10153, Attention: Ray C. Schrock (email: ray.schrock@weil.com),

 Jacqueline    Marcus    (email:   jacqueline.marcus@weil.com),        Garrett   A.     Fail   (email:

 garrett.fail@weil.com), and Sunny Singh (email: sunny.singh@weil.com); (iii) William K.

 Harrington, the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite

 1006,     New      York,     NY      10014,     Attention:     Paul      Schwartzberg         (e-mail:

 paul.schwartzberg@usdoj.gov) and Richard Morrissey (e-mail: richard.morrissey@usdoj.gov);

 (iv) counsel to the Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer &

 Feld LLP, One Bryant Park, New York, New York, 10036, Attention: Philip C. Dublin (email:

 pdublin@akingump.com), Ira Dizengoff (email: idizengoff@akingump.com), and Sara Lynne

 Brauner (email: sbrauner@akingump.com); and (v) counsel to Bank of America, N.A., Skadden,

 Arps, Slate, Meagher & Flom LLP, 4 Times Square, New York, NY 10036, Attention: Paul D.



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 Leake (email: paul.leake@skadden.com), Shana A. Elberg (email: shana.elberg@skadden.com)

 and George R. Howard (email: george.howard@skadden.com) (collectively, the “Notice

 Parties”).

         54.     No previous request for the relief sought herein has been made by the Debtors to

 this or any other court.

                               [Remainder of page intentionally left blank]




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        WHEREFORE, Paul, Weiss respectfully requests that the Court enter an order:

 (a) awarding Paul, Weiss compensation for professional and paraprofessional services provided

 during the Fee Period in the amount of $14,377,232.25, and reimbursement of actual, reasonable

 and necessary expenses incurred in the Fee Period in the amount of $288,917.88; (b) authorizing

 and directing the Debtors to remit payment to Paul, Weiss for such fees and expenses; and

 (c) granting such other relief as is appropriate under the circumstances.


 Dated: April 15 2019               /s/ Paul M. Basta__________________
 New York, New York                 PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Tel: 212-373-3000
                                    Fax: 212-757-3990
                                    Paul M. Basta
                                    Kelley A. Cornish
                                    Lewis R. Clayton

                                    Counsel for the Debtors, Acting at the
                                    Direction of the Restructuring Sub-Committee




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                                     Exhibit A

                                 Basta Declaration
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :      Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.                               :      Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :      (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x

                      DECLARATION OF PAUL BASTA
         IN SUPPORT OF THE FIRST INTERIM FEE APPLICATION OF
      PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP, ATTORNEYS
 FOR THE DEBTORS, FOR THE PERIOD FROM OCTOBER 15, 2018 THROUGH AND
                      INCLUDING FEBRUARY 28, 2019

         PAUL BASTA makes this declaration under 28 U.S.C. § 1746:

         1.       I am a partner in the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP

 (“Paul, Weiss”), an international law firm with its principal offices at 1285 Avenue of the

 Americas, New York, New York 10019. I am a lead attorney from Paul, Weiss working on the

 above-captioned chapter 11 cases (the “Chapter 11 Cases”). I am a member in good standing of



 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
     (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
     (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
     Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
     Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
     Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
     (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
     Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
     LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
     Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
     (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
     (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
     Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
     SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
     BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
     (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
     Corporation (5365), and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters
     is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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 the Bar of the State of New York and I have been admitted to practice in the United States

 District Court for the Southern District of New York.

         2.       I have read the foregoing fee application of Paul, Weiss for the Fee Period (the

 “Fee Application”).2 To the best of my knowledge, information, and belief, the statements

 contained in the Fee Application are true and correct.                 In addition, I believe that the Fee

 Application complies with Local Rule 2016-1 and the Fee Guidelines.

         3.       In connection therewith, I hereby certify that:

                  a)       I have read this application;

                  b)       to the best of my knowledge, information, and belief, formed after
                           reasonable inquiry, the fees and disbursements sought in the Fee
                           Application are permissible under the relevant rules, court orders, and
                           Bankruptcy Code provisions;

                  c)       the fees and disbursements sought in the Fee Application are billed at rates
                           customarily employed by Paul, Weiss and generally accepted by Paul,
                           Weiss’s clients.     In addition, none of the professionals seeking
                           compensation varied their hourly rate based on the geographic location of
                           the Debtors’ case;

                  d)       in providing a reimbursable expense, Paul, Weiss does not make a profit
                           on that expense, whether the service is performed by Paul, Weiss in-house
                           or through a third party;

                  e)       in accordance with Bankruptcy Rule 2016(a) and section 504 of the
                           Bankruptcy Code, no agreement or understanding exists between Paul,
                           Weiss and any other person for the sharing of compensation to be received
                           in connection with the above cases except as authorized pursuant to the
                           Bankruptcy Code, Bankruptcy Rules, or Local Rules; and

                  f)       all services for which compensation is sought were professional services
                           on behalf of the Debtors and not on behalf of any other person.

         4.       Pursuant to Section B(2) of the Local Guidelines, and as required by the Interim

 Compensation Order, I certify that Paul, Weiss has complied with the provisions requiring Paul,

 2
     Capitalized terms used, but not otherwise defined herein, have the meanings ascribed to them in the Fee
     Application.


                                                         2
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 Weiss to provide the Debtors and the U.S. Trustee with a statement of Paul, Weiss’s fees and

 expenses accrued during the previous month within the timetables set forth in the Interim

 Compensation Order.

        5.      Pursuant to Section B(3) of the Local Guidelines, I certify that Paul, Weiss has

 provided the U.S. Trustee and the Debtors with a statement of Paul, Weiss’s fees and expenses

 incurred during the Fee Period.

        6.      In accordance with the U.S. Trustee’s Guidelines, Paul, Weiss responds to the

 questions identified therein as follows:

        Question 1: Did Paul, Weiss agree to any variations from, or alternatives to, Paul, Weiss's
        standard or customary billing rates, fees or terms for services pertaining to this
        engagement that were provided during the Fee Period? If so, please explain.

        Answer: No.

        Question 2: If the fees sought in the Fee Application as compared to the fees budgeted for
        the time period covered by the Application are higher by 10% or more, did Paul, Weiss
        discuss the reasons for the variation with the client?

        Answer: The fees sought for the Fee Period do not exceed those budgeted for such time.

        Question 3: Have any of the professionals included in the Application varied their hourly
        rate based on geographic location of the bankruptcy case?

        Answer: No.

        Question 4: Does the Application include time or fees related to reviewing or revising
        time records or preparing, reviewing or revising invoices? If so, please quantify by hours
        and fees.

        Answer: The Application includes time for fees related to reviewing time records and
        preparing or reviewing invoices in connection with the preparation of monthly fee
        statements and invoices. The total time expended for such matters during the Fee Period
        is approximately 115.4 hours included within Task Code 705 and totals approximately
        $86,183.

        Question 5: Does the Application include time or fees for reviewing time records to
        redact any privileged or other confidential information? If so, please quantify hours and
        fees.

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       Answer: As part of the ordinary review of time records to ensure compliance with the Fee
       Guidelines, certain information may be redacted or edited to protect privileged or
       confidential information. Any time expended on reviewing and redacting time records
       for privileged or confidential information is included within Task Code 705 and includes
       time spent to (i) ensure that time entries comply with the Fee Guidelines and do not
       disclose privileged or confidential information, (ii) prepare monthly fee statements and
       begin to prepare the Fee Application, (iii) ensure the adequacy of disclosure regarding
       activities included in the Fee Application, and (iv) time spent on retention and on review
       of conflicts checks for parties in interest in these Chapter 11 Cases. As set forth above,
       the total time expended for such matters during the Fee Period is approximately 115.4
       hours included within Task Code 705 and totals approximately $86,183. All of these
       services were necessary components of Paul, Weiss’s fee and retention activities.

       Question 6: Does the Application include any rate increases since Paul, Weiss’s retention
       in these cases? If so, did the client review and approve those rate increases in advance?
       Did the client agree when retaining the law firm to accept all future rate increases?

       Answer: The Fee Application does not include any rate increases since Paul, Weiss’s
       retention in these Chapter 11 Cases.


                             [Remainder of page intentionally left blank]




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        7.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief.


 Dated: April 15, 2019              Respectfully submitted,
 New York, New York

                                    /s/ Paul M. Basta
                                    Paul M. Basta
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                                     Exhibit B

                     COMPENSATION BY PROFESSIONAL
                 OCTOBER 15, 2018 THROUGH FEBRUARY 28, 2019
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Name of Professional      Title       Department     Year            Hourly       Total        Total
                                                    Admitted       Billing Rate   Billed    Compensation
                                                                         ($)      Hours         ($)
Kelley Cornish          Partner       Bankruptcy       1984             1,560         531.6     816,114.00
Meredith Kane           Partner       Real Estate      1983             1,560           2.6       4,056.00
Paul Basta              Partner       Bankruptcy       1993             1,560         625.2     975,312.00
Lewis Clayton           Partner       Litigation       1979             1,560         352.0     544,206.00
Susanna Buergel         Partner       Litigation       2002             1,485         522.2     775,467.00
Manuel Frey             Partner       Corporate        2000             1,455           8.2      11,931.00
Robert Britton          Partner       Bankruptcy       2008             1,165         623.5     709,506.00
Jonathan Hurwitz        Counsel       Litigation       1987             1,160         709.8     823,368.00
Stephen Koo             Counsel       Corporate        1988             1,160          30.5      35,380.00
Karen King              Counsel       Litigation       2001             1,160         255.4     296,264.00
Karla Booth             Counsel       Real Estate      2006             1,125          19.5      21,937.50
Daniel Mason            Counsel       Litigation       2008             1,125           5.2       5,850.00
Adam Denhoff            Associate     Bankruptcy       2011             1,065           1.0       1,065.00
Shane Avidan            Associate     Litigation       2013             1,005         483.0     485,415.00
Anna-Lisa Vanzo         Associate     Litigation       2016              920            3.8       3,496.00
Emma C. Carlson         Associate     Bankruptcy       2017              835           39.3      32,815.50
Michael Colarossi       Associate     Bankruptcy       2017              835           17.5      14,612.50
Julia Maddera           Associate     Litigation       2018              835           27.3      22,795.50
Felicia Siegel          Associate     Real Estate      2016              835           33.7      28,139.50
Wendy Wang              Associate     Real Estate      2018              835            0.3         250.50
Jonathan Silberstein-   Associate     Litigation       2015              940          521.7     490,398.00
Loeb
Shaina Reiko            Associate     Litigation       2012           1,030          295.5      304,365.00
Rogozen
Paul Gross              Associate     Litigation       2018           1,030           80.4       59,094.00
Emily Hoyle             Associate     Litigation       2018            735           721.2      527,031.75
Nicolas Kabat           Associate     Litigation       2018            735            40.7       29,914.50
Jake Struebing          Associate     Litigation       2018            735           656.0      482,160.00
David Giller            Associate     Litigation       2015            940           799.5      747,300.00
Rachel Corrigan         Associate     Litigation       2019            640           790.4      505,856.00
Akila Sarathy           Associate     Litigation    Not admitted       640           650.3      416,192.00
Caitlin Toto            Associate     Bankruptcy       2019            640           218.2      137,728.00
Teresa Lii              Associate     Bankruptcy       2014            920           560.3      512,946.00
Attorney Total:                                                                     9625.8    9,820,966.00
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 Name of Staff Attorneys, Paralegals, and Other        Hourly Billing   Total Billed      Total
                Non-Legal Staff                          Rate ($)         Hours        Compensation
                                                                                           ($)
Joanie Hecht                                                 480              259.5         124,560.00
Madhuri Pavamani                                             490              366.1         179,389.00
Peter Yoerg                                                  480              406.4         195,072.00
Francine Murray                                              490              469.5         230,055.00
Joseph Samuel                                                480              345.5         165,840.00
Nilda Rivera                                                 480              302.3         145,104.00
Binsy Cyriac                                                 480              467.2         224,256.00
Ydalim Ramon                                                 480               97.8          46,944.00
Destiny Harmon                                               480              360.9         173,232.00
Lisa Johnson                                                 480              438.7         210,576.00
Alexandra Stancu                                             480              313.6         150,528.00
William Wolfsheimer                                          480              326.0         156,480.00
Mark Shapiro                                                 480              442.1         212,208.00
Richard Dieguez                                              480              157.4          75,552.00
James Crutchfield                                            480              360.6         173,088.00
Scott Golodner                                               480              550.1         264,048.00
Chaim Rybak                                                  480              374.8         179,904.00
Robin Cohen                                                  480               64.2          30,816.00
Akiva Reich                                                  480              507.2         243,456.00
John Rowland                                                 480              511.9         245,712.00
Patricia Perez                                               480               74.8          35,904.00
Sergio Herrera                                               480              434.0         208,320.00
Ye Qing                                                      480              314.1         150,768.00
Arianny Mejia                                                480              510.5         245,040.00
Qing Di                                                      640               21.0          13,440.00
Joseph Monzione                                              365               53.9          19,673.50
Brooke Filler                                                365               16.8           6,132.00
Zakiya Williams Wells                                        315               28.0           8,820.00
Anna Margolis                                                315               14.3           4,504.50
Rubin Danberg Biggs                                          315              238.8          75,222.00
Sarah Griffin                                                315              272.3          85,774.50
Olivia Irby                                                  315              114.4          36,036.00
Robert Graham                                                315               10.1           3,181.50
Frank Eng                                                    365              185.2          67,598.00
Elisabeth Stuveras                                           345              102.8          35,466.00
Frank Oliveras                                               345               18.8           6,486.00
Justin Turnofsky                                             345               58.6          20,217.00
Alan Wilbur                                                  345              205.4          70,863.00
Christopher Ho                                               345               82.2          28,359.00
Ai Na Liu                                                    270               28.3           7,641.00
     Total Staff Attorneys, Paralegals, and Other Non-Legal Staff:           9906.1       4,556,266.00
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       PROFESSIONALS                    BLENDED         TOTAL BILLED           TOTAL
                                        RATE ($)           HOURS           COMPENSATION ($)
 Partners and Counsel                    1,361.86                3,685.7            5,019,391.50
 Associates                               808.33                 5,940.1            4,801,574.75
 Staff Attorneys/Paralegals/Non-
                                          459.95                 9,906.1            4,556,266.00
 Legal Staff
 Blended Attorney Rate                   1,020.28

 Blended Rate All Timekeepers             736.09
                Total Fees Incurred                            19,531.90          $14,377,232.25




                                                    2
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                                     Exhibit C

                      COMPENSATION BY TASK CODE
                 OCTOBER 15, 2018 THROUGH FEBRUARY 28, 2019
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 AGGREGATE TIME SUMMARY BY TASK CODE
 FOR THE PERIOD OCTOBER 15, 2018 THROUGH FEBRUARY 28, 2019

                            Project Category                    Total Hours        Total Fees ($)

 Case Administration (701)                                             164.1              99,557.00
 Conflict Matters: General (702)                                       415.6             347,561.50
 Conflict Matters: Investigations & Discovery (703)                  15,368.2         10,061,264.50
 Conflict Matters: Strategic Advice (704)                                69.8             56,810.50
 Fee/Employment Applications (Paul, Weiss) (705)                       264.3             208,879.50
 Fee/Employment Applications (Other) (706)                             175.5             182,859.50
 Fee/Employment Objections (707)                                              0                     0
 Cash Collateral/DIP Issues (708)                                        29.9             36,545.50
 Plan and Disclosure Statement (709)                                     53.3             61,589.00
 Litigation (710)                                                      922.2             897,945.50
 Valuation (711)                                                              0                     0
 Travel Time (712)                                                       58.2             33,313.75
 Court Hearings (713)                                                  270.3             349,876.50
 Sale Transactions (714)                                              1,727.8          2,027,029.00
 Creditor Inquiries (715)                                                 1.3              1,462.50
 Corporate Governance (716)                                              11.4             12,538.00
 TOTAL                                                               19,531.9        $14,377,232.25
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    TIME SUMMARY BY TASK CODE

     Task Code 701              Title     Total           Hourly Rate ($)       Total Compensation ($)
   Case Administration                    Hours

Paul M. Basta               Partner            4.5    x             1,560   =                   7,020.00
Robert Britton              Partner            9.6    x             1,165   =                  10,816.00
Susanna M. Buergel          Partner            0.2    x             1,485   =                     297.00
Kelley A. Cornish           Partner            5.7    x             1,560   =                   8,892.00
Emma C. Carlson             Associate         12.5    x               835   =                  10,437.50
Michael J. Colarossi        Associate          1.0    x               835   =                     835.00
Emily M. Hoyle              Associate          1.6    x               735   =                   1,176.00
Teresa Lii                  Associate         18.7    x               920   =                  17,204.00
Caitlin J. Toto             Associate         17.9    x               640   =                  11,456.00
Rubin Danberg Biggs         Paralegal          5.2    x               315   =                   1,638.00
Brooke Filler               Paralegal          1.8    x               365   =                     657.00
Sarah Griffin               Paralegal         18.9    x               315   =                   5,953.50
Joseph Monzione             Paralegal         52.8    x               365   =                  19,272.00
Zakiya Williams Wells       Paralegal          0.7    x               315   =                     220.50
Christopher Ho              Paralegal          2.3    x               345   =                     793.50
Ai Na Liu                   Paralegal         10.7    x               270   =                   2,889.00
                  Totals:                    164.1                                             99,557.00
     Task Code 702              Title     Total           Hourly Rate ($)       Total Compensation ($)
Conflict Matters: General                 Hours

Paul M. Basta               Partner            2.8    x             1,560   =                   4,368.00
Robert Britton              Partner           49.4    x             1,165   =                  55,927.00
Susanna M. Buergel          Partner            5.7    x             1,485   =                   8,464.50
Kelley A. Cornish           Partner            5.7    x             1,560   =                   8,892.00
Shane D. Avidan             Associate          3.9    x             1,005   =                   3,919.50
Emma C. Carlson             Associate          0.3    x               835   =                     250.50
Rachel J. Corrigan          Associate          3.9    x               640   =                   2,496.00
Emily M. Hoyle              Associate          8.6    x               735   =                   6,321.00
Teresa Lii                  Associate         94.0    x               920   =                  86,480.00
Julia C. Maddera            Associate         21.2    x               835   =                  17,702.00
Akila V. Sarathy            Associate         59.2    x               640   =                  37,888.00
Jake E. Struebing           Associate        120.9    x               735   =                  88,861.50
Caitlin J. Toto             Associate         33.9    x               640   =                  21,696.00
Anna-Lisa F. Vanzo          Associate          3.8    x               920   =                   3,496.00
Rubin Danberg Biggs         Paralegal          0.8    x               315   =                     252.00
Frank Eng                   Paralegal          1.5    x               365   =                     547.50
                  Totals:                    415.6                                            347,561.50
      Task Code 703            Title      Total           Hourly Rate ($)       Total Compensation ($)
     Conflict Matters:                    Hours
Investigations & Discovery
Paul M. Basta              Partner           298.3    x             1,560 =                   465,348.00
Robert Britton             Partner           125.1    x             1,165 =                   140,737.50

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Susanna M. Buergel          Partner          324.9   x          1,485   =            482,476.50
Lewis R. Clayton            Partner          216.6   x          1,560   =            337,896.00
Kelley A. Cornish           Partner          159.5   x          1,560   =            248,820.00
Karla Booth                 Counsel            0.2   x          1,125   =                225.00
Jonathan Hurwitz            Counsel          525.4   x          1,160   =            609,464.00
Karen King                  Counsel          236.3   x          1,160   =            274,108.00
Stephen K. Koo              Counsel            1.0   x          1,160   =              1,160.00
Daniel Mason                Counsel            5.2   x          1,125   =              5,850.00
Shane D. Avidan             Associate        100.2   x          1,005   =            100,701.00
Emma C. Carlson             Associate          9.8   x            835   =              8,183.00
Rachel J. Corrigan          Associate        669.1   x            640   =            428,224.00
Adam M. Denhoff             Associate          1.0   x          1,065   =              1,065.00
David Giller                Associate        584.0   x            940   =            548,960.00
Emily M. Hoyle              Associate        595.8   x            735   =            437,913.00
Nicolas M. Kabat            Associate         10.4   x            735   =              7,644.00
Teresa Lii                  Associate         55.6   x            920   =             51,152.00
Shaina Reiko Rogozen        Associate        295.5   x          1,030   =            304,365.00
Akila V. Sarathy            Associate        569.0   x            640   =            364,160.00
Jonathan Silberstein-Loeb   Associate        446.9   x            940   =            420,086.00
Jake E. Struebing           Associate        463.7   x            735   =            340,819.50
Caitlin J. Toto             Associate         15.4   x            640   =              9,856.00
Robin Cohen                 Staff Attorney    64.2   x            480   =             30,816.00
James Crutchfield           Staff Attorney   350.6   x            480   =            168,288.00
Binsy Cyriac                Staff Attorney   465.7   x            480   =            223,536.00
Richard Dieguez             Staff Attorney   157.4   x            480   =             75,552.00
Scott Golodner              Staff Attorney   550.1   x            480   =            264,048.00
Destiny Harmon              Staff Attorney   360.9   x            480   =            173,232.00
Joanie Hecht                Staff Attorney   253.1   x            480   =            121,488.00
Sergio Herrera              Staff Attorney   434.0   x            480   =            208,320.00
Lisa Johnson                Staff Attorney   438.7   x            480   =            210,576.00
Arianny Mejia               Staff Attorney   510.5   x            480   =            245,040.00
Francine N. Murray          Staff Attorney   469.5   x            490   =            230,055.00
Madhuri Pavamani            Staff Attorney   366.1   x            490   =            179,389.00
Patricia Perez              Staff Attorney    74.8   x            480   =             35,904.00
Ye Qing                     Staff Attorney   313.8   x            480   =            150,624.00
Ydalim Ramon                Staff Attorney    97.5   x            480   =             46,800.00
Akiva Reich                 Staff Attorney   507.2   x            480   =            243,456.00
Nilda E. Rivera             Staff Attorney   302.3   x            480   =            145,104.00
John Rowland                Staff Attorney   511.9   x            480   =            245,712.00
Chaim Rybak                 Staff Attorney   374.8   x            480   =            179,904.00
Joseph L. Samuel            Staff Attorney   345.5   x            480   =            165,840.00
Mark Shapiro                Staff Attorney   442.1   x            480   =            212,208.00
Alexandra Stancu            Staff Attorney   313.6   x            480   =            150,528.00
William Wolfsheimer         Staff Attorney   325.8   x            480   =            156,384.00
Peter Yoerg                 Staff Attorney   406.4   x            480   =            195,072.00
                            Visiting          21.0   x                  =
Qing Di                                                          640                  13,440.00
                            Lawyer
Rubin Danberg Biggs         Paralegal        208.4   x           315 =                65,646.00
Frank Eng                   Paralegal        179.9   x           365 =                65,663.50

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Robert Graham                 Paralegal           10.1     x               315   =                   3,181.50
Sarah Griffin                 Paralegal          220.2     x               315   =                  69,363.00
Olivia Irby                   Paralegal           85.8     x               315   =                  27,027.00
Anna Margolis                 Paralegal           14.3     x               315   =                   4,504.50
Christopher Ho                Paralegal           79.9     x               345   =                  27,565.50
Ai Na Liu                     Paralegal           17.6     x               270   =                   4,752.00
Frank Oliveras                Paralegal           18.8     x               345   =                   6,486.00
Elisabeth Stuveras            Paralegal          102.8     x               345   =                  35,466.00
Justin Turnofsky              Paralegal           58.6     x               345   =                  20,217.00
Alan D. Wilbur                Paralegal          205.4     x               345   =                  70,863.00
                  Totals:                      15368.2                                          10,061,264.50
      Task Code 704              Title         Total           Hourly Rate ($)       Total Compensation ($)
Conflict Matters: Strategic                    Hours
           Advice
Robert Britton                Partner              3.6     x             1,165   =                   4,114.00
Kelley A. Cornish             Partner              2.6     x             1,560   =                   4,056.00
Jonathan Hurwitz              Counsel              5.0     x             1,160   =                   5,800.00
Shane D. Avidan               Associate            5.2     x             1,005   =                   5,226.00
Rachel J. Corrigan            Associate            6.0     x               640   =                   3,840.00
Nicolas M. Kabat              Associate           30.3     x               735   =                  22,270.50
Teresa Lii                    Associate            2.0     x               920   =                   1,840.00
Akila V. Sarathy              Associate           15.1     x               640   =                   9,664.00
                  Totals:                         69.8                                              56,810.50
       Task Code 705             Title         Total           Hourly Rate ($)       Total Compensation ($)
      Fee/Employment                           Hours
Applications (Paul, Weiss)
Robert Britton                Partner             21.2     x             1,165   =                  23,858.00
Kelley A. Cornish             Partner              6.4     x             1,560   =                   9,984.00
Emma C. Carlson               Associate            5.1     x               835   =                   4,258.50
Teresa Lii                    Associate          125.1     x               920   =                 115,092.00
Caitlin J. Toto               Associate           65.5     x               640   =                  41,920.00
Ye Qing                       Staff Attorney       0.3     x               480   =                     144.00
Ydalim Ramon                  Staff Attorney       0.3     x               480   =                     144.00
William Wolfsheimer           Staff Attorney       0.2     x               480   =                      96.00
Brooke Filler                 Paralegal           14.4     x               365   =                   5,256.00
Zakiya Williams Wells         Paralegal           25.8     x               315   =                   8,127.00
                  Totals:                        264.3                                             208,879.50
       Task Code 706             Title         Total           Hourly Rate ($)       Total Compensation ($)
      Fee/Employment                           Hours
   Applications (Other)
Paul M. Basta                 Partner              1.5     x             1,560   =                   2,340.00
Robert Britton                Partner             59.5     x             1,165   =                  66,937.50
Kelley A. Cornish             Partner             18.7     x             1,560   =                  29,172.00
Emma C. Carlson               Associate           10.6     x               835   =                   8,851.00
Teresa Lii                    Associate           75.7     x               920   =                  69,644.00
Caitlin J. Toto               Associate            8.9     x               640   =                   5,696.00
Brooke Filler                 Paralegal            0.6     x               365   =                     219.00

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                    Totals:                      175.5                                             182,859.50
     Task Code 708                 Title       Total           Hourly Rate ($)       Total Compensation ($)
Cash Collateral/DIP Issues                     Hours

Robert Britton                Partner             18.9     x             1,165   =                  21,262.50
Kelley A. Cornish             Partner              8.2     x             1,560   =                  12,792.00
Emma C. Carlson               Associate            1.0     x               835   =                     835.00
Teresa Lii                    Associate            1.8     x               920   =                   1,656.00
                    Totals:                       29.9                                              36,545.50
      Task Code 709                Title       Total           Hourly Rate ($)       Total Compensation ($)
   Plan and Disclosure                         Hours
        Statement
Paul M. Basta                 Partner              0.8     x             1,560   =                   1,248.00
Robert Britton                Partner             16.2     x             1,165   =                  18,873.00
Lewis R. Clayton              Partner              2.2     x             1,560   =                   3,432.00
Kelley A. Cornish             Partner             10.2     x             1,560   =                  15,912.00
Shane D. Avidan               Associate            1.6     x             1,005   =                   1,608.00
Teresa Lii                    Associate           22.3     x               920   =                  20,516.00
                  Totals:                         53.3                                              61,589.00
      Task Code 710                Title       Total           Hourly Rate ($)       Total Compensation ($)
        Litigation                             Hours

Paul M. Basta                 Partner              1.0     x             1,560   =                   1,560.00
Robert Britton                Partner              5.5     x             1,165   =                   6,407.50
Susanna M. Buergel            Partner             39.1     x             1,485   =                  58,063.50
Lewis R. Clayton              Partner             38.2     x             1,560   =                  59,592.00
Kelley A. Cornish             Partner             11.5     x             1,560   =                  17,940.00
Jonathan Hurwitz              Counsel            103.2     x             1,160   =                 119,712.00
Karen King                    Counsel             14.2     x             1,160   =                  16,472.00
Shane D. Avidan               Associate          272.5     x             1,005   =                 273,862.50
Rachel J. Corrigan            Associate           83.1     x               640   =                  53,184.00
David Giller                  Associate           96.0     x               940   =                  90,240.00
Paul C. Gross                 Associate           19.4     x             1,030   =                  14,259.00
Emily M. Hoyle                Associate           55.4     x               735   =                  40,719.00
Teresa Lii                    Associate           24.0     x               920   =                  22,080.00
Julia C. Maddera              Associate            6.1     x               835   =                   5,093.50
Jonathan Silberstein-Loeb     Associate           70.6     x               940   =                  66,364.00
Jake E. Struebing             Associate           39.1     x               735   =                  28,738.50
Caitlin J. Toto               Associate           22.5     x               640   =                  14,400.00
James Crutchfield             Staff Attorney      10.0     x               480   =                   4,800.00
Joanie Hecht                  Staff Attorney       6.4     x               480   =                   3,072.00
Rubin Danberg Biggs           Paralegal            2.9     x               315   =                     913.50
Sarah Griffin                 Paralegal            1.5     x               315   =                     472.50
                  Totals:                        922.2                                             897,945.50




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      Task Code 712                Title     Total           Hourly Rate ($)       Total Compensation ($)
       Travel Time                           Hours

Robert Britton                Partner             6.2    x             1,165   =                   3,487.50
Lewis R. Clayton              Partner             6.3    x             1,560   =                   4,914.00
Kelley A. Cornish             Partner            16.9    x             1,560   =                  13,182.00
David Giller                  Associate           9.0    x               940   =                   4,230.00
Emily M. Hoyle                Associate           8.3    x               735   =                   3,050.25
Teresa Lii                    Associate           5.5    x               920   =                   2,530.00
Caitlin J. Toto               Associate           6.0    x               640   =                   1,920.00
                    Totals:                      58.2                                             33,313.75
     Task Code 713                 Title     Total           Hourly Rate ($)       Total Compensation ($)
     Court Hearings                          Hours

Paul M. Basta                 Partner            44.8    x             1,560   =                  69,888.00
Robert Britton                Partner            36.4    x             1,165   =                  41,850.00
Susanna M. Buergel            Partner            28.8    x             1,485   =                  42,768.00
Lewis R. Clayton              Partner            36.2    x             1,560   =                  56,472.00
Kelley A. Cornish             Partner            37.0    x             1,560   =                  57,720.00
Jonathan Hurwitz              Counsel            29.6    x             1,160   =                  34,336.00
Shane D. Avidan               Associate           1.5    x             1,005   =                   1,507.50
David Giller                  Associate           9.0    x               940   =                   8,460.00
Teresa Lii                    Associate          26.5    x               920   =                  24,380.00
Caitlin J. Toto               Associate          18.5    x               640   =                  11,840.00
Joseph Monzione               Paralegal           0.5    x               365   =                     182.50
Zakiya Williams Wells         Paralegal           1.5    x               315   =                     472.50
                  Totals:                       270.3                                            349,876.50
     Task Code 714                 Title     Total           Hourly Rate ($)       Total Compensation ($)
    Sale Transactions                        Hours

Paul M. Basta                 Partner           271.5    x             1,560   =                 423,540.00
Robert Britton                Partner           260.6    x             1,165   =                 302,523.00
Susanna M. Buergel            Partner           123.5    x             1,485   =                 183,397.50
Lewis R. Clayton              Partner            52.5    x             1,560   =                  81,900.00
Kelley A. Cornish             Partner           249.2    x             1,560   =                 388,752.00
Manuel Frey                   Partner             8.2    x             1,455   =                  11,931.00
Meredith J. Kane              Partner             2.6    x             1,560   =                   4,056.00
Karla Booth                   Counsel            19.3    x             1,125   =                  21,712.50
Jonathan Hurwitz              Counsel            46.6    x             1,160   =                  54,056.00
Karen King                    Counsel             4.9    x             1,160   =                   5,684.00
Stephen K. Koo                Counsel            29.5    x             1,160   =                  34,220.00
Shane D. Avidan               Associate          98.1    x             1,005   =                  98,590.50
Michael J. Colarossi          Associate          16.5    x               835   =                  13,777.50
Rachel J. Corrigan            Associate          28.3    x               640   =                  18,112.00
David Giller                  Associate         101.5    x               940   =                  95,410.00
Paul C. Gross                 Associate          61.0    x             1,030   =                  44,835.00
Emily M. Hoyle                Associate          51.5    x               735   =                  37,852.50


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Teresa Lii                  Associate          107.7     x               920   =                  99,084.00
Akila V. Sarathy            Associate            7.0     x               640   =                   4,480.00
Felicia A. Siegel           Associate           33.7     x               835   =                  28,139.50
Jonathan Silberstein-Loeb   Associate            4.2     x               940   =                   3,948.00
Jake E. Struebing           Associate           32.3     x               735   =                  23,740.50
Caitlin J. Toto             Associate           29.6     x               640   =                  18,944.00
Wendy L. Wang               Associate            0.3     x               835   =                     250.50
Binsy Cyriac                Staff Attorney       1.5     x               480   =                     720.00
Rubin Danberg Biggs         Paralegal           21.5     x               315   =                   6,772.50
Frank Eng                   Paralegal            3.8     x               365   =                   1,387.00
Sarah Griffin               Paralegal           31.7     x               315   =                   9,985.50
Oliva Irby                  Paralegal           28.6     x               315   =                   9,009.00
Joseph Monzione             Paralegal            0.6     x               365   =                     219.00
                  Totals:                     1727.8                                           2,027,029.00
     Task Code 715              Title        Total           Hourly Rate ($)       Total Compensation ($)
    Creditor Inquiries                       Hours

Robert Britton              Partner              1.3     x             1,165 =                     1,462.50
                 Totals:                         1.3                                               1,462.50
     Task Code 716              Title        Total           Hourly Rate ($)       Total Compensation ($)
  Corporate Governance                       Hours

Robert Britton              Partner             10.0     x             1,165 =                    11,250.00
Teresa Lii                  Associate            1.4     x               920 =                     1,288.00
                 Totals:                        11.4                                              12,538.00




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                                     Exhibit D

                               EXPENSE SUMMARY
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 AGGREGATE ITEMIZED DISBURSEMENTS
 FOR THE PERIOD OCTOBER 15, 2018 THROUGH FEBRUARY 28, 2019

                              Expenses Category                         Total Expenses ($)
 Court Costs & Lit Expenses                                                        46,336.67
 Client Organizational Expenses                                                     4,412.50
 Information Retrieval Services                                                    68,042.85
 Out-of-Town Travel                                                                23,156.03
 Miscellaneous                                                                       534.41
 Word Processing                                                                    6,663.75
 Overtime Expenses                                                                 19,235.21
 Duplicating Expenses                                                              83,357.49
 Communications                                                                      429.41
 Mail and Messengers                                                                4,499.32
 Local Transportation Expenses                                                     14,988.47
 Business Expenses                                                                 17,261.77
 TOTAL                                                                            288,917.88
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                                           Exhibit E

           CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES


 Category of Timekeeper            Blended Hourly Rate
                                   Billed by Attorneys in New      Billed in this fee application
                                   York, excluding bankruptcy

 Partner                                               $1,400.78                         $1,439.46
 Counsel                                               $1,084.83                         $1,165.09
 Associates                                              $821.56                           $808.33
 Staff Attorneys, Paralegals and                         $463.59                           $459.95
 other Non-Legal Staff
 All timekeepers aggregated                              $848.77                           $736.09
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                                         Exhibit F

         BUDGET AND STAFFING PLAN OCTOBER 15, 2018-FEBRUARY 28, 2019
                                  Budget

                        Aggregate Bill            Aggregate Hours            Primary Work
                                                       Billed                   Streams
                                                                        Filing/First
                                                                        Days/Deal/DIP
October 2018        $1,142,712–$1,380,777         1,200.00-1,450.00
                                                                        Financing/RSC
                                                                        Governance

                                                                        Investigation/Sale
November 2018       $2,716,917–$2,910,983         3,500.00-3,750.00
                                                                        Issues

                                                                        Investigation/Sale
December 2018       $3,659,561–$3,830,568         5,350.00-5,600.00
                                                                        Issues

                                                                        Investigation/Sale
January 2019        $4,502,361–$4,654,480         6,000.00-6,250.00
                                                                        Issues

                                                                        Sale Hearing/Disclosure
February 2019       $2,063,600-$2,251,200         2,750.00-3,000.00
                                                                        Statement/Plan
Total:             $14,085,150- $15,028,008       18,800.00-20,050.00




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                                           Staffing Plan


                                          NUMBER OF TIMEKEEPERS
                                         EXPECTED TO WORK ON THE        AVERAGE HOURLY
 CATEGORY OF TIMEKEEPER
                                         MATTER DURING THE BUDGET            RATE
                                                  PERIOD

                Partner                               5-7                     $1,477.86
                Counsel                               3-5                     $1,146.00
 Sr. Associate (7 or more years since
                                                      2-4                     $1,017.50
           first admission)
    Associate (4-6 years since first
                                                      3-5                      $951.25
              admission)
  Jr. Associate (1-3 years since first
                                                      5-7                      $762.27
              admission)
           Staff Attorneys                           15-25                     $480.83
  Paralegals & Other Professionals                   12-15                     $326.92




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